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Attorneys for Providence Health & Services -
Oregon




                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION

MICHAEL M. OWENS, M.D.,                             Case No.

                   Plaintiff,                       NOTICE OF REMOVAL

          vs.                                       Pursuant to 28 U.S.C. §§ 1331, 1367 1441,
                                                    and 1446
THE OREGON CLINIC, P.C., an Oregon
professional corporation; and PROVIDENCE
HEALTH & SERVICES - OREGON, an                      (Multnomah County Circuit Court Case
Oregon nonprofit corporation dba                    No. 21CV33161)
PROVIDENCE ST. VINCENT MEDICAL
CENTER,

                   Defendants.



         Defendant Providence Health & Services – Oregon dba Providence St. Vincent Medical

Center (“PSVMC”) gives notice that it is removing this action from Multnomah County Circuit

Court to the United States District Court for the District of Oregon pursuant to 28 U.S.C. §§ 1331,

1367, 1441 and 1446 for the following reasons:
4863-3973-4294.1
                                                               LEWIS BRISBOIS BISGAARD & SMITH LLP
 NOTICE OF REMOVAL – Page 1                                    888 SW Fifth Avenue, Suite 900
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         1.        This court has federal question jurisdiction under 28 U.S.C. § 1331 because

plaintiff’s lawsuit alleges that defendant PSVMC and defendant The Oregon Clinic. P.C. violated

the Sherman Act, 15 U.S.C. § 1.

         2.        The court further has federal question jurisdiction under 28 U.S.C. § 1331 because

plaintiff’s lawsuit alleges that PSVMC failed to follow the procedures required under the Health

Care Quality Improvement Act (HCQIA), 42 U.S.C. § 10001, et. seq., and further alleges that

immunity under that federal law does not apply.

         3.        This court has supplemental jurisdiction over the remaining state law claims under

28 U.S.C. § 1367 because the claims are so related to the original jurisdiction claim that they are

part of the same case or controversy.

         4.        Plaintiff filed the Second Amended Complaint, which included the claims alleging

violation of the Sherman Act and HCQIA, and first making the case removable, on March 17,

2022.

         5.        PSVMC and defendant The Oregon Clinic, P.C. were served with the Second

Amended Complaint on March 17, 2022.

         6.        This Notice of Removal was filed within 30 days of service on PSVMC of the

Second Amended Complaint, from which the case first became removable. Therefore, the Notice

of Removal is timely filed under 28 U.S.C. § 1446(b)(3).

         7.        PSVMC has given the Multnomah County Circuit Court notice that this case has

been removed to the United States District Court. See Exhibit 1.

         8.        PSVMC has attached copies of all process, pleadings and orders served upon it and

on file with the Multnomah County Circuit Court in compliance with 28 U.S.C. § 1446(a). A copy

of the court docket is also attached. See Exhibit 2.




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         9.        Defendant The Oregon Clinic, P.C. consents to removal of this action.

         10.       PSVMC has served upon Plaintiff a copy of this notice.




         DATED this 30th day of March, 2022.

                                              LEWIS BRISBOIS BISGAARD & SMITH LLP



                                              By: s/ Sharon C. Peters
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                                    CERTIFICATE OF SERVICE

        I certify that I served the foregoing NOTICE OF REMOVAL on the following attorneys

by the method indicated below on the 30th day of March, 2022:

           Attorneys for Plaintiff:
           Jack L. Caynon                                   Via First Class Mail
           Timothy J. Coleman                               Via Federal Express
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